                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 MARVEL CHARACTERS, INC.,

                        Plaintiff,

        v.                                            Civil Action No. 1:21-cv-07957

 PATRICK S. DITKO, in his capacity as                 COMPLAINT FOR
 Administrator of the Estate of Stephen J.            DECLARATORY RELIEF
 Ditko,

                        Defendant.



       Plaintiff Marvel Characters, Inc. (“MCI”), for its complaint against defendant Patrick S.

Ditko (“Patrick Ditko”), alleges as follows:

                                     NATURE OF THE ACTION

       1.      Over its long history, MCI and its predecessors in interest (individually and

collectively, “Marvel”) have engaged numerous writers and artists to contribute to Marvel’s

comics. Stephen J. Ditko (“Steve Ditko”), who started working for Marvel in or around 1957, is

one such artist. Marvel assigned Steve Ditko stories to illustrate, had the right to exercise

creative control over his contributions, and paid him a per-page rate for his contributions. As a

result, any contributions Steve Ditko made were at Marvel’s instance and expense, rendering his

contributions work made for hire, to which the Copyright Act’s termination provisions do not

apply. Nevertheless, defendant Patrick Ditko, in his capacity as the administrator of Steve

Ditko’s estate, has served termination notices purportedly issued under that Act, in an invalid

attempt to acquire certain rights to iconic Marvel comic book characters and stories published

between 1962 and 1966.

       2.      In virtually identical circumstances, this Court, as affirmed by the Second Circuit,
granted Marvel summary judgment, finding that all of illustrator Jack Kirby’s contributions

between 1958 and 1963 were done at Marvel’s instance and expense and thus were works made

for hire. Because termination rights do not exist for works made for hire, the Kirby heirs’

termination notices—which covered many of the very same comics that Patrick Ditko’s

termination notices do—were held to be invalid and of no legal force or effect. See Marvel

Worldwide, Inc. v. Kirby, 777 F. Supp. 2d 720 (S.D.N.Y. 2011), aff’d in relevant part, 726 F.3d

119 (2d Cir. 2013).

       3.      Similarly, the District Court for the District of Delaware held in In re Marvel

Entertainment Grp., 254 B.R. 817 (D. Del. 2000), that contributions by an individual similarly

situated during the same period at issue here were works made for hire. There, a writer claimed

that he owned certain characters during Marvel’s bankruptcy proceedings. The district court

rejected that claim, holding that all of the writer’s work was done at Marvel’s instance and

expense and was thus work made for hire.

       4.      Kirby and In re Marvel Entertainment dictate the same result here. As with the

artists in those cases, Marvel had the right to exercise creative control over Steve Ditko’s

contributions and paid him a per-page rate for his work. As with the artists in those cases, when

Steve Ditko worked for Marvel, he did so with the expectation that Marvel would pay him. And

as with the artists in those cases, Steve Ditko never held the copyright in the famous Marvel

characters and comics on which he worked; rather, Marvel does, as evidenced by the relevant

copyright registration notices themselves. Marvel thus brings this declaratory relief action,

pursuant to 28 U.S.C. § 2201, in response to Patrick Ditko’s improper attempt to acquire

Marvel’s intellectual property.




                                                -2-
                                              PARTIES

         5.     MCI is a Delaware corporation with its principal place of business in Burbank,

California. MCI owns the intellectual property contained in the comic books and characters at

issue.

         6.     Upon information and belief, Patrick Ditko is the brother of Steve Ditko and the

administrator of Steve Ditko’s estate.

                                  JURISDICTION AND VENUE

         7.     This is an action for declaratory relief brought under 28 U.S.C. §§ 2201, et seq.,

and under the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq. This Court has federal question

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

         8.     This Court has personal jurisdiction over Patrick Ditko because he claims to have

any termination rights possessed by Steve Ditko in his capacity as the administrator of Steve

Ditko’s estate. Upon information and belief, that estate is domiciled in New York.

         9.     Upon information and belief, venue is proper in this Court pursuant to 28 U.S.C.

§ 1391(b)(1) because Steve Ditko’s estate is domiciled in this District in New York, New York.

Venue is also proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) for the additional reason

that a substantial part of the events giving rise to this action occurred in this District.

Specifically, most if not all of the contributions by Steve Ditko were made in this District, and all

of the comic books at issue were published in this District.

                                          ALLEGATIONS

         10.    At all relevant times, Steve Ditko was engaged as a comic book artist and writer

by Marvel in New York, New York to contribute to various comic books (the “Works”).

         11.    Any contributions Steve Ditko made were at Marvel’s instance and expense.



                                                  -3-
        12.    Marvel editorial staff had the right to exercise creative control over Steve Ditko’s

contributions, and Marvel paid Steve Ditko a per-page rate for his contributions. When Steve

Ditko worked for Marvel, he did so with the expectation that Marvel would pay him.

        13.    Steve Ditko did not obtain any ownership interest in or to any contributions he

made.

        14.    Marvel registered copyrights in and to the Works, which are copyrightable subject

matter under the copyright laws of the United States. The Register of Copyrights recorded the

registrations, as set forth in Exhibit 1 to this complaint. Marvel has complied in all relevant

respects with all laws governing copyright.

        15.    Between approximately May 28 and July 16, 2021, Patrick Ditko served four

notices of termination on Marvel. Patrick Ditko claims to have a sufficient interest in the Works,

as administrator of Steve Ditko’s estate, to exercise purported rights of termination under the

termination provisions of the Copyright Act, 17 U.S.C. § 304(c), and the regulations thereunder.

        16.    The notices specifically seek to “terminate all pre-January 1, 1978 exclusive or

non-exclusive grants of the transfer or license of the renewal copyright(s) in and to” certain

“illustrated comic book stor[ies]” that were allegedly “authored or co-authored” by Steve Ditko

and published by Marvel between 1962 and 1966. The notices specify various effective

termination dates, ranging from May 29 to July 17, 2023.

        17.    The comic book titles identified in the notices include Amazing Spider-Man,

Amazing Fantasy, Journey Into Mystery, and Strange Tales. The notices purportedly terminate

alleged grants of copyright interests in all characters, story elements, and “indicia” in the comic

books, as well as “all material” allegedly “authored or co-authored by Stephen J. Ditko (in any

and all medium(s), whenever created) that was reasonably associated with” these works and



                                                -4-
“registered with the United States Copyright Office and/or published within the termination time

window, as defined by 17 U.S.C. § 304(c), and the” purported “effective date of this Notice of

Termination.”

        18.      True and correct copies of these notices are attached hereto as Exhibits 2 through

6.

                     COUNT I: ACTION FOR DECLARATORY RELIEF
                             [As to the Validity of All Notices]

        19.      Marvel repeats and realleges each allegation contained in paragraphs 1 through 18

of this complaint as if fully set forth herein.

        20.      Patrick Ditko has served Marvel with the termination notices described above.

On information and belief, Patrick Ditko submitted the notices for recordation with the U.S.

Copyright Office.

        21.      The notices are invalid as a matter of law because the Works were created as

works made for hire, and there are no termination rights for works made for hire. See 17 U.S.C.

§ 304(c).

        22.      The Works were made for hire because they were created at Marvel’s instance

and expense.

        23.      Any contributions Steve Ditko made to the Works were done at the instance of

Marvel’s editorial staff, who had the right to exercise creative control over Steve Ditko’s

contributions.

        24.      Any contributions Steve Ditko made to the Works were done at Marvel’s expense

because Marvel paid Steve Ditko a per-page rate for his contributions, Steve Ditko made those

contributions to the Works with the expectation that Marvel would pay him, and Steve Ditko did

not obtain any ownership interest in or to his contributions.


                                                  -5-
       25.     Marvel has a real and reasonable apprehension of litigation over any claim by

Patrick Ditko that Marvel’s exploitation of the Works after the alleged termination dates

infringes Patrick Ditko’s purported rights, as the administrator of Steve Ditko’s estate.

       26.     There now exists between the parties an actual and justiciable controversy

concerning the validity of the termination notices and the respective rights of Marvel and Patrick

Ditko, as the administrator of Steve Ditko’s estate.

       27.     A declaration is necessary and appropriate at this time in light of the purported

effective termination dates and the ongoing exploitation of the Works and the development of

new works derivative of the Works.

       28.     Marvel has no adequate remedy at law.

       29.     Accordingly, Marvel seeks, pursuant to 28 U.S.C. § 2201, a judgment from this

Court that the notices are invalid and therefore that Marvel will not lose its copyright interests in

the Works on the alleged termination dates.

                                     PRAYER FOR RELIEF

       WHEREFORE, Marvel prays for a judgment against Patrick Ditko as follows:

       A.      For a declaration that the termination notices are invalid;

       B.      For Marvel’s attorneys’ fees and costs incurred; and

       C.      For such other and further relief as the Court deems just and equitable.




                                                -6-
Dated: September 24, 2021     Respectfully Submitted,

                              O’MELVENY & MYERS LLP


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                            -7-
